Case 3:20-bk-03560   Doc 17    Filed 10/13/20 Entered 10/13/20 15:45:01   Desc Main
                              Document      Page 1 of 10
Case 3:20-bk-03560   Doc 17    Filed 10/13/20 Entered 10/13/20 15:45:01   Desc Main
                              Document      Page 2 of 10
Case 3:20-bk-03560   Doc 17    Filed 10/13/20 Entered 10/13/20 15:45:01   Desc Main
                              Document      Page 3 of 10
Case 3:20-bk-03560   Doc 17    Filed 10/13/20 Entered 10/13/20 15:45:01   Desc Main
                              Document      Page 4 of 10
                                     150ThirdAvenueSouth
                                                                                           www.pnfp.com
                                     Suite900
                                     Nashville,TN37201                                   Phone800Ͳ264Ͳ3613

                                                                                           Account
RETURNSERVICEREQUESTED                                                                   XXXXXXXX1400




                                   LGOrnamentals
                                   DebtorinPossession
                                   148StonecrestDrive
                                   Nashville,TN372095236




StatementofAccount                                                                                            Horizon75


 Balance8/12/20                           Summary
 $.00
                                                 Credits      + $1,850.00
 Balance8/31/20                           Interest     + $.00
 $1,766.68                                Debits       Ͳ $83.32

 CreditTransactions
 Deposits
 8/12            RegularDeposit                                       1,200.00
 8/20            RegularDeposit                                        650.00
 TotalCredits                                                             $1,850.00



 DebitTransactions
 OtherDebits
 8/17            ERIEINSURANCEWEBPAYMENT7530175411SLG             41.66
                 Ornamentals
 8/17            ERIEINSURANCEWEBPAYMENT7530175411SLG             41.66
                 Ornamentals
 TotalDebits                                                                  $83.32


AverageBalanceThis               $1,527.51 AnnualPercentageYield              .00%
Statement                                    Earned
InterestEarnedThisPeriod             $.00 DaysinPeriod                          20
InterestPaidYeartoDate              $.00 InterestPaid                         $.00




                                                                                                                     Page1of5
Case 3:20-bk-03560             Doc 17       Filed 10/13/20 Entered 10/13/20 15:45:01                      Desc Main
                                           Document      Page 5 of 10
                                                                      Page2of5
Case 3:20-bk-03560   Doc 17    Filed 10/13/20 Entered 10/13/20 15:45:01    Desc Main
                              Document      Page 6 of 10
AccountNumber:XXXXXXXX1400


 DAILYBALANCEINFORMATION
 8/12                     1,200.00    8/17                 1,116.68   8/20              1,766.68




                                                                                         Page3of5
Case 3:20-bk-03560      Doc 17        Filed 10/13/20 Entered 10/13/20 15:45:01   Desc Main
                                     Document      Page 7 of 10
                                    IntentionallyLeftBlank




                                                                                  Page4of5
Case 3:20-bk-03560   Doc 17    Filed 10/13/20 Entered 10/13/20 15:45:01   Desc Main
                              Document      Page 8 of 10
AccountNumber:XXXXXXXX1400                                           Date               8/31/20
                                                                       PrimaryAcctNo.   XXXXXXXX1400




         #0             08/12/2020          $1,200.00    #0          08/20/2020           $650.00




                                                                                                Page5of5
     Case 3:20-bk-03560        Doc 17    Filed 10/13/20 Entered 10/13/20 15:45:01     Desc Main
                                        Document      Page 9 of 10
               LG Ornamentals LLC
                 Profit and Loss
                         August 2020

                                                     Total
Income
 41000 Sales of Product Income                               1,850.00
Total Income                               $                 1,850.00
Gross Profit                               $                 1,850.00
Expenses
 61100 Insurance                                               83.32
 62500 Materials & Supplies                                   425.00
Total Expenses                             $                  508.32
Net Operating Income                       $                 1,341.68
Net Income                                 $                 1,341.68




                 Tuesday, Oct 06, 2020 02:29:08 PM




    Case 3:20-bk-03560              Doc 17      Filed 10/13/20 Entered 10/13/20 15:45:01   Desc Main
                                               Document     Page 10 of 10
